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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 1:23-cv-20203-SCOLA/GOODMAN

  CRISTINA MUNOZ,

         Plaintiff,

  vs.

  UNITED VETERINARY
  SERVICES LLC, PINECREST
  ANIMAL MEDICAL CENTER
  L.L.C., AND CHRISTIANO
  VIOTTI,

        Defendants.
  ______________________________/

                             NOTICE OF MEDIATOR SELECTION

         Plaintiff, Cristina Munoz, notices the Court that the parties complied with the Court’s Order

  Setting Trial [ECF No. 16] entered on March 20, 2023 and agreed to utilize Karen Evans, Esq., as

  mediator.

         Dated this 19th day of April 2023.

                                                        s/Brian H. Pollock, Esq.
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